Case 13-11238 Doc 4 Filed 05/09/13 Entered 05/09/13 14:58:39

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B 5 (Official Form 5) (12/07) Amended Case No. 13-11238
UNITED STATES BANKRUPTCY COURT
INVOLUNTARY
Eastern District of Louisiana PETITION

 

 

IN RE (Name of Debtor — If Individual: Last, First, Middle)

TREATY ENERGY CORPORATION, Nevada [See attached

 

Last four digits of Social-Security or other Individual’s Tax-I.D. No./Complete EIN
(If more than one, state all.):

EIN 86-0884 116

ALL OTHER NAMES used by debtor in the last 8 years
(Include married, maiden, and trade names.)

list]

 

STREET ADDRESS OF DEBTOR (No. and street, city, state, and zip code)

201 Saint Charles Avenue, suite 2558
New Orleans, Louisiana 70710 504/599-5665

[Same]

COUNTY OF RESIDENCE OR PRINCIPAL PLACE OF BUSINESS

Orleans Parish
ZIP CODE

70170

 

MAILING ADDRESS OF DEBTOR (If different from street address)

ZIP CODE

 

LOCATION OF PRINCIPAL ASSETS OF BUSINESS DEBTOR (If different from previously listed addresses)

Loisiana, Texas, Kansas, Belize, Tennessee

 

CHAPTER OF BANKRUPTCY CODE UNDER WHICH PETITION IS FILED

VW Chapter 7 O Chapter 11

 

INFORMATION REGARDING DEBTOR (Check applicable boxes)

 

Nature of Debts
(Check one box.)

Type of Debtor
(Form of Organization)

O Individual (Includes Joint Debtor)
Y Corporation (Includes LLC and LLP)
O Partnership

Petitioners believe:

 

 

Nature of Business
(Check one box.)
a Health Care Business
a Single Asset Real Estate as defined in
11 US.C. § 101(51)(B)

O Debts are primarily consumer debts ; 7 a Railroad
Y Debts are primarily business debts O Other (If debtor is not one of the above entities, oO Stockbroker
P ¥ check this box and state type of entity below.) a Commodity Broker
7 Clearing Bank
Ot
oi and Gas

 

VENUE

O Debtor has been domiciled or has had a residence, principal
place of business, or principal assets in the District for 180
days immediately preceding the date of this petition or for
a longer part of such 180 days than in any other District.

i A bankruptcy case concerning debtor’s affiliate, general

partner or partnership is pending in this District. 1994, no fee is required ]

 

FILING FEE (Check one box)

YY Full Filing Fee attached

O Petitioner is a child support creditor or its representative, and the form
specified in § 304(g) of the Bankruptcy Reform Act of 1994 is attached.
[If a child support creditor or its representative is a petitioner, and if the
petitioner files the form specified in § 304(g) of the Bankruptcy Reform Act of

 

PENDING BANKRUPTCY CASE FILED BY OR AGAINST ANY PARTNER
OR AFFILIATE OF THIS DEBTOR (Report information for any additional cases on attached sheets.)

 

 

 

 

 

Name of Debtor Case Number Date
Phoenix Associates Land Syndicate 09-11743 06/10/2009
Relationship District Judge
Same ownership / control persons Eastern District of Louisiana Jerry Brown
ALLEGATIONS
(Check applicable boxes) COURT USE ONLY

1. 9 Petitioner (s) are eligible to file this petition pursuant to 11 U.S.C. § 303 (b).

2. © The debtor is a person against whom an order for relief may be entered under title 11 of the United
States Code.

3.a. of The debtor is generally not paying such debtor’s debts as they become due, unless such debts are
the subject of a bona fide dispute as to liability or amount;

or
b. a Within 120 days preceding the filing of this petition, a custodian, other than a trustee receiver, or

agent appointed or authorized to take charge of less than substantially all of the property of the
debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

 

 

 
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United States Bankruptcy Court INVOLUNTARY
PETITION
B 5 Form Addendum

Amended Case No. 13-11238
TREATY ENERGY CORPORATION, a Nevada Corporation

OTHER NAMES used by debtor in the last 8 years:

Phoenix Associates Land Syndicate, Inc, Nevada
Phoenix Oil & Gas Inc, Nevada

Tri Koon Holdings LLC, Florida

Alternate Energy Corporation, Nevada

Treaty Belize Energy Limited, Belize

Treaty Drilling LLC, Texas

Treaty Charity Fund, Belize

TECO Foundation Inc, Louisiana

Orpheum Property Inc, Delaware

Integrated Coffee Technologies Inc, Delaware
129 University Place LLC, Louisiana

C & C Petroleum Management LLC, Texas
Treaty Drilling LLC, Texas

PBLS LLC, Nevada

C & C Petroleum Management, LLC Texas / Indiana
Treaty Charitable Fund, Belize

TECO Foundation Inc, Louisiana

Axiom Global Properties, Inc, Delaware

IB Treaty Energy Corp B 5 Additional — All Other Names
Case 13-11238 Doc 4 Filed 05/09/13 Entered 05/09/13 14:58:39 Main Document Page 3 of 7
Apr 26 13 09:11p David Hallin

9017473018 p.2

BS (Official For 5) (1207}— Page 2 Name of Debtor TREATY ENERGY CORPORATION

Amended Case No. _13-11238

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
   

 

 

 

 

 

TBANSEER OF CLAII 7
= Check this box if there has been a wansfer of any claim against the debtor by or to any petitioner. Attach all documents that
evidence the transfer and anv statements that are required under Bankruptcy Rule 1003{a).
REQUEST FOR RELIEF
Petitioner(s) request that an order for relief be entered against the debsor under the chapter of title 11, United States Code. specified in this
petition. If any petitioner isa foreign representative appointed in a foreign proceeding. a certified copy af the order of the court granting
tecognition ts attached.
Petitioner(s} declare under penalty of peqjory that the foregoing is troe andj }
ta YY, “Individual ix N/A
of in Representative (State title) : Signature of Attomey / Dace
Navid A. Hallin 04/25/2013 :
Name of Peationer Date Siened ; Name of Attormey Finm (If any)
Name & Mailing | Address
Address of Individual 936 East Riverwalk Drive
Signing in Representative ; Telephone No.
Capacity Memp' TN 38120-2608 :
“Kenda Y Loe af findividual i
Siguatiae of Petitener or (Srate title Signature of Attomev Date
Ronda Hyatt L /s6/20) 5 :
Name of Petitioner Date Signed : Name of Attornec Firm (If any)
Mame & Mailing : Address
Address of Individual 310 N. Willis, #212
Signing in Representative : Telephone No.
Capacity Abilene, TX 79603 °
x Individual x
Signamare of Petitioner or Representative (State ttle) ? Signature of Atromey Date
Jefferey A. Morgan :
Name of Petitioner Date Sigurd : Name of Attomey Firm (Ef anv}
Address of tndeidual 2486 Freeman Road . Abtness
Cae Nepresentaive North Pole, AK 99705 —; TelkephoneNo
Ni and Adgress of Petit . rrors
ame etitioner _ Nature of Claim. Amount of Claim
David A. Hallin ' At
236 East Riverwalk Drive. Memphis. IN 38120! Fraud $412,000.00
Name and Address of Petitioner , Nature of Claim Amoun: of Clam
Ronda Hyatt Attorney fees [above]
aud Norgh Winlis #712. shilene, 1 19603 i Yendor_fees__erand $188,162.12
ame ddress of Petitioner Nature of Claim Amount
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2486 Freeman Road, North Pole, AK 99705 ; Forgery $492,897.64
Note: there are more than three petitioness. ailach additional checls with the statemcal under Total thoners’
penalty of perjure. each petitioner's sigaatnre under the statement and the name of attorney Cais
and petitioning creditor information in the format above. [Continuation Sheet]

 

 

__ XX continuation sheets attached.

 
- Apr26 16ers 11238 ROGeAid Hed 05/09/13 Entered 05/09/13 14:58:39 90a%4T0t&ment Page F-af 7

wp 5cOmeiel Form 5)CL007)— Page? Name of Debtor_ TREATY ENERGY CORPORATION

Case No. 13-11238

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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TRARSEER OF CLAIM _
= Check this box if there has been a transfer of any claim agamst the debtor by or to any petitioner. Attach all documents that
evidence the transfer and anv statements that are wader Rule 1003
REQUEST FOR RELIEF
Petitioner(s) request that an order for relief be entered against the debuor under the chapter of tite 11. United States Code, specified i this
petition. if any petitioner isa foreign sepresenttive sppoimtnd in Forcign proceeding.» cifed copy of he ander ofthe court prsaing
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Petitioner(s) declare under penalty of peryarv that the foregoing is tree and i
Individual | tx R/A
Signature of Pedtioner or Represcatative Gtate title) } Signature of Attorney Dae
David A. Hallin 04/25/2013. i
Name of Petttioner Date Signed i Naane of Attorney Fim {if any)
i
Name & Mailing : Address
Address of Individual 936 East Riverwalk Drive
Signing in Representative ; Telephone No.
Capacity Memphis. TN 38120-2608 ;
Individual i.
Signanure of Paibanar or Representative Suaie title) ; , Stgnature of Attomey Date
—. Ronda Hyatt
Name of Petitioner Date Signed. : ' Riame of Attornes Fim (Fann)
Name & Mailing . ; Address
Address of Individual 310 N. Willis, #212
Sigaing in Representative : Telephone No.
Capacity Abilene, TX 79603 i °
x Cf) _rnaividual “x
Si of Petitioner gf Representative (State title) ? Stgnatace of Atnomney Date:
erey A. Morgan :
Name of Petitioner Date Signed i Name of Attormmey Finm (if any}
Nem & Mailing 2686 Freeman Road ; Akins
Cong ia Representative North Pole, AK 99705 —_; Tekphone No.
PETECIONING CREDICORS -
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| cive omphis PN 381201 Fraud $412,000.00
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onda Hyatt , Attorney fees [abo
i : { Vendor fe $188,162.12
and Address of Pctitioner of Claim Amount of Claim
Yetlerey A. Morgan i Securities Fraud
2486 Freeman Road, North Pole, AK 99705 _i Forgery $492,897.64
— Note: - If there are move than three petitioners. attach additional shects with the statement under Caen Amount of Pesitioners”
penalty of perjurs, cach pctitioner’s sigaamre under the statement and the name of aftommey
and petitiosing creditor information za the format ebove. (Continuation Sheet]

 

 

 

 

XX coutimetion sheets attached
Case 13-11238 Doc 4 Filed 05/09/13 Entered 05/09/13 14:58:39 Main Document Page 5 of 7

3
Apr 26 13 09:1 1p David Hallin 9017473018 p
B4 Official Form £)(1207)— Page 2 Name ofDebter TREATY ENERGY CORPORATION

 

Amended (CaseNe. 13-11238

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TRANSFER OF CLAIM .
= Check this box if there has been a transfer of aay claim against the debtor by or to any petitioner. Aftach all decuments that
evidence the transfer and any statements that are required under Bankroptcy Rule 1003(2).
REQUEST FOR RELIEF . aa
Petitioner(s) request that aa order for relief be entered against the debtor under the chapter of title 11, United States Code, specified in this
penton. If any petitioner is a forcign representative appointed in a forcign proceeding. a certified copy of the order of the cout granting
tecognition is attached.
x N/A
Signature of Azomey Date
Name of Petitioner Date Signed Name of Alamev Fim (if any}
Name & Mailing Addcess
Address of Individual 8519 State Hiphway 36W
Signing in Representative Telephone No.
Capacity Clyde, TX 79510 °
x Individual x N/A
Signature of Petitioner or Representative (State title) Stenature of Attomey Date
David McCourtney
—~ Name of Petitioner Date Signed Name of Attomey Firm (If any)
eee or Ind dual 614 East Lakeshore Drive*
Signing im Representative . :
Coc Culver, OR 97734 Felephone No.
x. Individual x N/a
Signature of Petitioner ar Represeatative (State titfe) Siguatare of Attomey Date
Mack Maxcey
Name of Petitioner Date Signed Name of Attorney Firm (if aay)
N & Mailing Address
‘Address of Individual 213 Redwire Street
Signing in Representative Telephone Nt
Capacity Voss, TX 76888 *
PETITIONING CREDITORS
Mars and Address of Pessioner Nature of Claim Amonnt of Claim
8519 State Highway 26W, Clyde, Tx 79519 | Uepaid vendor Invoice $7,500.00
Name and Address of Petitioner Netare of Chains Amouat of Claim
David McCourtney iy 0 Fraud reiated to $35,617.00
Name and Address of Petitioner Nature of Clarm Azonnt of Claz
Mack Maxcey Fraud, illegal sal =
213 Redwire Street, Voss, TX 76888 £ i i $1,000, 000.00
Note: Frise are more than three peitonere, attach additional sheets with the statement under Total Amount of Petitioners’
ity of perjury, tioner’s signature inder the statement and the name of attorney Clanns
and petitioning creditor information i tbe format abowe | $2,135,441.24
I

____oulimation Sheets attached

 
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B 5 (Official Form 5) (12/07)— Page 2

Amended

Case No.

13-11238

Name of Debtor_TREATY ENERGY Corp.

 

TRANSFER OF CLAIM
C Check this box if there has been a transfer of any claim against the debtor by or to any petitioner. Attach all documents that
evidence the transfer and any statements that are required under Bankruptcy Rule 1003(a).

 

REQUEST FOR RELIEF
Petitioner(s) request that an order for relief be entered against the debtor under the chapter of title 11, United States Code, specified in this
petition. If any petitioner is a foreign representative appointed in a foreign proceeding, a certified copy of the order of the court granting

recognition is attached.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Petitioner(s) declare under penalty of perjury that the foregoing is tue and
correct according to the best of their knowledge, information, and belief.
x. x
Signature of Petitioner or Representative (State title) Signature of Attomey Date
Alexander Rasbury
Name of Petitioner Date Signed Name of Attorney Firm (If any)
Name & Mailing 8519 State Hwy 36W Address
Address of Individual
Signing in Representative Clyde, TX 79510 Telephone No.
Capacity
x (one Owns x MA A :
Signature of Petitioner or Representative (State title) md Signature of Attorney . Date
David McCouriney 5-(-(13
Name of Petitioner Date Signed Name of Attomey Finn (if any)
Name & Mailing 614 E. Lakeshore Drive Address
Address of Individual TT
Signing in Representative Culver, OR 97734 Telephone No.
Capacity
x x
Signature of Petitioner or Representative (State title) Signature of Attorney Date
Mack Maxcey
Name of Petitioner Date Signed Name of Attorney Firm (If ary)
Name & Mailing 213 Redwire Street Address
Address of Individual
Signing in Representative Voss, TX 76888 Telephone No.
Capacity
PETITIONING CREDITORS
Name and Address of Petitioner Nature of Claim Amount of Claim
Alexander Rasbury, State Hwy 36W, Clyde, TX 79510 Unpaid Invoice & Fraud 7,500.00
Name and Address of Petitioner Nature of Claim Amount of Claim
David McCourtney, 614 E. Lakeshore Dr, Culver, OR 97734 | Securities Fraud 35,617.00
Name and Address of Petitioner Nature of Claim Amonnt of Claim
Mack Maxcey, Redwire Street, Voss, TX 76888 Drilling Rig Fraud 1,000,000.00
Note: If there are more than three petitioners, attach additional sheets with the statement under Total Amount of Petitioners’
penalty of perjury, cach petitioner’s signature under the statement and the name of attorney Claims 2.135.441.24

and petitioning creditor formation in the format above.

 

 

continuation sheets attached

 

 
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2013-08-01 15:42:43 (GMT) 12705686166 Frorm: Debbie Mexcey

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

To: Devid Hailin Page 1 of 1
B5 (Official Form 5) (12/07) — Page 2 Name of Debtor_ TREATY ENERGY
Amended CaseNo. 13-11238
TRANSFER OF CLAIM
O Check this box if there has been a transfer of any claim against the debtor by or to any petitioner. Attach all documents that
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{ recognition is attached.
Petitioner(s) declare under penalty of perjury that the foregoing is true and
| correct according to the best of their knowledge, informatian, and belief.
4 x.
Signature of Petitioner or Representative (State titic) Signature of Attorney Date
Alexander Rasbury
Name of Petitioner Date Sigued Name of Atiorney Firm (if any)
Name & Mailing 8519 State Hwy 36W Address
Address of Individual
Signing in Representative Clyde, TX 79510 Telephone No.
Capacity —————
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Signature of Petitioner or Representative (State title) Signature of Attommey Date
David McCourtney
Name of Petitioner Date Signed Name of Attorney Firm (If any):
Name & Mailing 614 E. Lakeshore Drive Address
Address of Individual
: Signing in Representative Culver, OR 97734 Telephone No.
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Signature of Petitioner or Represegltative (State title) Signature of Attomey Date
Mack Maxcey
Name of Petitioner Date Signed Name of Attorney Firm (if any)
Name & Mailing 213 Redwire Street Address
Address of Individual
Signing in Representative Voss, TX 76888 Telephone No.
Capacity .
PETITIONING CREDITORS
Name and Address of Petitioner Nature of Claim Amount of Claim
Alexander Rasbury, State Hwy 36W, Clyde, TX 79510 Unpaid Invoice & Fraud 7,500.00
Name and Address of Petitioner "Nature of Claim ‘| Amount of Claim
David McCouriney, 614 ©. Lakeshore Dr, Culver, OR 97734 | Securities Fraud 35,617.00
Name and Address of Petitioner Nature of Claim Atnoont of Claim °
Mack Maxcey, Redwire Street, Voss, TX 76888 . Drilling Rig Fraud 1,000,000.00
Note: If there are more than three petitioners, attach additional shects-with the statement under Total Amount of Petitioners’
penalty of perjury, each petitioner's signature under the statement and the name of atiomey Claims 2 135
= tnd petitioning creditor ox information in the format above. _ : 441.24

 

 

 

 
